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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 DCP                                                  271 Cadman Plaza East
 F. #2012R00103                                       Brooklyn, New York 11201



                                                      July 26, 2024

 By Hand and ECF

 The Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201


                Re:    United States v. Larby Amirouche
                       Criminal Docket No. 21-64 (KAM) x

 Dear Judge Matsumoto:

                 The government respectfully submits this letter in opposition to another motion
 filed by the petitioner Larby Amirouche (“Amirouche” or the “Petitioner”), this one to compel
 the government to disclose any and all potentially exculpatory or impeaching information in its
 possession.” See ECF Docket No. 92 (July 21, 2024) (the “Motion”). For the reasons set forth
 below, the Motion is meritless and should be denied.

    I.       Background

                As the Court is aware, since the Petitioner filed an amended pro se petition to
 vacate his conviction and sentence pursuant to 18 U.S.C. § 2255 in April 2024, see ECF Docket
 No. 73 (the “Petition”), purportedly alleging ineffective assistance of trial counsel, he has filed
 repeated motions seeking broad and voluminous discovery in an attempt to relitigate his case.
 On July 12, 2024, he filed a motion for the government to produce “Grand Jury Transcripts and
 Related Materials Pursuant to FRCP 6(e)” and on July 15, 2024, he filed a motion to “Compel
 Production of Discovery and for Judicial Notice.” See ECF Docket Nos. 89 and 90. The Court
 denied both of those motions on July 22, 2024.1 The Petitioner’s motion for discovery included
 unsupported allegations that material had been “withheld” from him, even as he admitted that the


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          In the Court’s July 22, 2024 order, Your Honor requested that the Petitioner’s former
 lawyer, Michael Kushner, Esq., again provide the government’s discovery to the Petitioner at
 FCI Thomson. The government has provided the Court’s order to Mr. Kushner and understands
 that Mr. Kushner is providing that discovery to the Petitioner.
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 government had provided the requested documents to his counsel before he pled guilty. While
 those motions were pending before the Court, the Petitioner filed the instant Motion.

    II.     Applicable Law

                 Pursuant to Rule 6(a) of the Rules governing § 2255 Proceedings, a habeas
 petitioner is entitled to discovery only if the petitioner shows “good cause.” 28 U.S.C. § 2255;
 see also United States v. Durrani, 115 F. App’x 500, 502-03 (2d Cir. 2004). The Rules also grant
 the court discretion in making a discovery determination. Id. In order to determine whether a
 habeas petitioner has shown good cause, a court looks for reasons to believe that the petitioner
 would be able to show he or she is entitled to relief “if the facts are fully developed.” Fan v.
 United States, 15-CV-4169 (DLI), 2019 WL 2503995 at *4 (E.D.N.Y. June 17, 2019) (citing
 Bracy v. Gramley, 520 U.S. 899, 908-09 (1997) (internal citations and quotation marks
 omitted)); see also Locurto v. United States, 2016 WL 7031556, *1 (E.D.N.Y. Dec. 1, 2016).

                 To show good cause, a petitioner must make “specific allegations” to demonstrate
 that he or she is entitled to relief. Rodriguez v. United States, 14-CV-6134 (KAM), 2020 WL
 7861383 (E.D.N.Y. Dec. 31, 2020) (citing Bracy, 520 U.S. at 908-09). A court can deny a
 request for discovery if a petitioner is simply engaging in a “fishing expedition” without showing
 specific facts that would support a habeas petition. Charles v. Artuz, 21 F. Supp. 2d 168, 169
 (E.D.N.Y. 1998). Accordingly, a petitioner “bears a heavy burden in establishing a right to
 discovery.” Rodriguez, 2020 WL 7861383 at * 23 (citing Bracy, 520 U.S. at 904).

    III.    Argument

                 Petitioner’s motion should be denied as a baseless fishing expedition. Amirouche
 has made a series of very expansive requests for wide swathes of information, including: (a) “any
 and all evidence demonstrating there were no losses” suffered by victim banks, including
 “documents, records or communications” the banks and “government memoranda,
 correspondence, or other materials reflecting the prosecution’s awareness that there was no proof
 of actual loss”; (b) documents that the “alleged fraudulent scheme did not directly target or cause
 losses to FDIC-insured financial institutions;” (c) any communications between the government
 and Mr. Kushner that “could support [Petitioner’s] claims of ineffective assistance; and (d) “any
 impeaching information regarding government witnesses” including any prior inconsistent
 statements of witnesses and criminal or disciplinary records. Mot. at 2-7. Amirouche claims that
 all of this material is requested to “fully develop the record in support of his claims, and to
 ensure that all relevant evidence is before the Court.” Id. at 2. Amirouche also asserts, without
 any factual support, that “the government’s disclosures to date have been selective, misleading
 and incomplete.” Id. at 10.

                 In the first instance, Amirouche has not come close to showing good cause by
 making “specific allegations” how the sought after information would help develop his claims.
 Indeed, the nature of his requests make plain that they are a broad fishing expedition “merely to
 determine whether the requested items contain any grounds that might support his petition, and
 not because the documents actually advance his claims of error.” Rodriguez, 2020 WL 7861383
 at *23 (citing Artuz, 21 F. Supp. 2d at 169). Amirouche makes nothing more than broad,



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 generalized requests for information that he believes will support his attempt to relitigate his
 guilty plea and sentence. Amirouche has made no specific allegations that such discovery exists
 or that it would be exculpatory in the face of his guilty plea and allocution – he simply posits that
 the information “could” exist and that, if it did, it could support his claims.2 Such claims are
 legally insufficient to meet the high burden of ordering discovery. See Pizzuti v. United States,
 2017 WL 1180911, at *6 (S.D.N.Y. Mar. 29, 2017) (“[g]eneralized statements regarding the
 possibility of the existence of discoverable material will not be sufficient to establish the
 requisite ‘good cause.’”).

                 Moreover, Amirouche has not shown good cause that the information he seeks
 would help support a claim he has made in the Petition. As the government has made plain in its
 opposition to the Petition and Amirouche’s other motions, the only claims that are relevant to
 this Motion is whether his trial counsel was constitutionally ineffective in his representation.
 See, e.g., Government’s Opposition at 23. And since the only claims Amirouche has not waived
 are those alleging ineffective assistance of counsel, “to be proper, any discovery must be focused
 on seeking information that, if fully developed, would support either prong of the Strickland
 test.” Fan, 2019 WL 2503995 at *4. Accordingly, the only discovery that would be relevant (if
 Amirouche could make specific allegations and demonstrate good cause) would be that bearing
 on whether counsel’s performance was ineffective and that he suffered prejudice. While
 Amirouche plays lip service that some of the information is relevant to his ineffective assistance
 of counsel claims, it is clear that the information he seeks is solely to investigate and relitigate
 claims that he has waived with his guilty plea and allocution.3

                  For example, Amirouche makes a number of purported Brady requests based on
 his belief that the financial institutions connected to his case suffered no “actual loss.” Mot. at 3-
 7. Although Amirouche believes this fact is exculpatory, it is not, even if it were true. It is well
 established that to demonstrate a violation of bank fraud pursuant to 18 U.S.C. § 1344, the
 government is not required to establish actual loss, just that there was a scheme to defraud a
 financial institution with the intent to obtain money or other property from the financial

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          To be clear, contrary to Amirouche’s baseless accusations, the government has not
 withheld anything from Amirouche at any stage. It produced all Rule 16 information prior to the
 defendant’s plea and has complied and continued to comply with its Brady obligations. That
 Amirouche now asserts otherwise, without any support other than that belief, is simply
 inaccurate.
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           Amirouche’s demands for the government’s internal communications and
 communications with Mr. Kushner are both improper and plainly a fishing expedition. The
 government’s internal memoranda and communications are plainly protected by the work-
 product doctrine and by Rule 16(a)(2) of the Federal Rules of Criminal Procedures, which
 specifically exempts from disclosure “reports, memoranda, or other internal government
 documents made by an attorney for the government or any other government agent in connection
 with investigating or prosecuting the case.” See United States v. Gangi, 1 F. Supp. 2d 256, 263
 (S.D.N.Y. 1998) (citing Fed.R.Cr.P 16(a)(2)). With regard to the government’s communications
 with Mr. Kushner, Amirouche does not assert specific allegations of why those materials would
 help his ineffective assistance of counsel claims, only that they “could.” Mot. at 5-6.


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 institution. See 18 U.S.C. § 1344; see also United States v. Laljie, 184 F.3d 180, 189 (2d Cir.
 1999) (“actual or potential loss to the financial institution need not be proven, so long as there is
 evidence that the defendant intended to expose the institution to such loss…”). Which is
 precisely what the Petitioner allocuted to, under oath, at his guilty plea. See Government’s
 Opposition at 5-6 (citing transcript of the Petitioner’s guilty plea). As a result, Amirouche’s
 claims of ineffective assistance for purportedly failing to contest an issue that was not germane
 to the defendant’s guilt are baseless. While Amirouche may now believe this is an important
 issue, it does not constitute ineffective assistance for his counsel not to contest that claim.
 Moreover, Amirouche has waived those claims and, as a result, his belief does provide a basis
 for ordering broad discovery.

                 Similarly baseless are Amirouche’s requests for impeachment materials. It is
 plain that Amirouche now demands those records in an effort to relitigate his case, not to
 advance claims of ineffective assistance of counsel. Indeed, he does not (and cannot) even claim
 that this request is to obtain materials that support his claims that Mr. Kushner was ineffective.
 Mot. at 6-7 (asserting that the requested materials “could be used to impeach their credibility at
 an evidentiary hearing”). Amirouche has not even asserted in the Petition that Mr. Kushner was
 somehow ineffective for not obtaining and reviewing impeachment materials pursuant to Giglio
 or the Jencks Act, which is not surprising given that Petitioner pled guilty before any hearing or a
 trial was even scheduled. Accordingly, he cannot meet the heavy burden of obtaining discovery
 over those materials.

       IV.      Conclusion

                For the foregoing reasons, the government respectfully submits that the
 Petitioner’s motion should be denied.

                                                         Respectfully submitted,

                                                         BREON PEACE
                                                         United States Attorney

                                                By:       /s/ David C. Pitluck
                                                         David C. Pitluck
                                                         Assistant U.S. Attorney
                                                         (718) 254-6108


 cc:         Clerk of Court (KAM) (by ECF)
             Larby Amirouche (by Certified U.S. Mail)




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